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IN THE UNITED STATES DISTRICT COU]US DFE 30 w
FOR THE wEsTERN DISTRICT oF TENNESSEE ‘“ F'r: 3:1§2
EASTERN DIVISION

 

UNITED STATES OF AMERICA

vS. Cr. No.l:OE-lOOS€~Ol-T

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JUDGMENT ON SUPERVISED RELEASE VIOLATION

This cause came to be heard on December 27, 2005, Assistant
U. S. Attorney James W. Powell, representing the government, and
the defendant appeared in person and with counsel, M. Dianne
Smothers, Who Was appointed and admits to the allegations set
forth in the Supervised Release Violation Petition. After
questioning the defendant, hearing statements of counsel, the
Court finds the defendant guilty as charged in the Supervised
Release Violation Petition.

IT IS THEREFORE ORDERED that the defendant has violated the
terms of his supervised release and that he be sentenced to the
custody of the Bureau of Prisons for a period of TWENTY-TWO (22)
MONTHS, With no further supervision.

The Court recommends an institution as close to defendant’s
home as possible and where defendant can receive drug treatment

and drug counseling.

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The defendant is remanded to the custody of the United

States Marshal.

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J.AM D. TODD

UN ED T ss DI TRI T JUD E
DATE: B`S@BQ/U/wi”¢ §”'5<5

ISTRICT COURT - WESTERN D"'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 19 in
case 1:05-CR-10086 Was distributed by faX, mail, or direct printing on
December 30, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable .1 ames Todd
US DISTRICT COURT

